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                   United States District Court
                     District of Massachusetts


                                      )
United States of America,             )
                                      )
                                      )
          v.                          )
                                      )
                                      )     Criminal Action No.
Armando Chavez,                       )     11-10417-NMG-1
                                      )
          Defendant.                  )
                                      )
                                      )


                         MEMORANDUM & ORDER
GORTON, J.

     Pending before the Court are the motions of defendant

Armando Meras Chavez (“Chavez” or “defendant”), who appears pro

se, for reconsideration and resentencing pursuant to 18 U.S.C.

§ 3582(c)(2) (Docket No. 563) and for compassionate release

pursuant to § 3582(c)(1)(A) (Docket No. 364).       Chavez is

currently incarcerated at FCI McDowell in West Virginia, having

been convicted of and sentenced for operating a large-scale,

international cocaine and heroin distribution organization.           His

projected date of release is in May, 2025.

I.   Background

     In November, 2015, Chavez pled guilty to Counts I and III

of a three-count superseding indictment charging him with


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conspiracy to possess with intent to distribute and to

distribute five kilograms or more of cocaine and one kilogram or

more of heroin in violation of 21 U.S.C. § 846 (Count I) and

conspiracy to commit money laundering in violation of 18 U.S.C.

§ 1956(h) (Count III).    The superseding indictment was the

result of a lengthy investigation by the Drug Enforcement

Administration into an international cocaine and heroin

distribution organization of which Chavez was the leader.

     At the time of defendant’s sentencing in May, 2016, Count I

carried a mandatory minimum sentence of 10 years imprisonment.

Based on his offense conduct, his criminal history and his

acceptance of responsibility, the advisory guideline sentencing

range for defendant was 210-262 months of incarceration.         Upon

consideration of all the sentencing factors set forth in 18

U.S.C. § 3553(a), this Court ultimately sentenced defendant to

180 months in prison.

     Soon thereafter, defendant appealed his conviction and

sentence to the First Circuit Court of Appeals (“the First

Circuit”).   By summary disposition, the First Circuit affirmed

the judgment of this Court in March, 2018.

     Defendant now moves to reduce his current sentence,

contending that the (below guideline) term of imprisonment

imposed by this Court is “disproportionately severe” and that


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his alleged post-conviction rehabilitation and the unspecified

challenges faced by his family due to his incarceration and the

COVID-19 pandemic warrant the reduction.        The government

disagrees and urges this Court to deny defendant’s motions.

II.   Motion for Compassionate Release

        A. Legal Standard

      In general, “[t]he court may not modify a term of

imprisonment once it has been imposed.” 18 U.S.C. § 3582(c).

One narrow exception to that rule is set forth in

§ 3582(c)(1)(A) which provides that a court may reduce a

defendant’s term of imprisonment only if, after considering the

factors laid out in § 3553(a), the Court finds that there are

“extraordinary and compelling reasons” warranting such a

reduction.    The modification may be made upon a defendant’s

motion only after defendant has fully exhausted his

administrative remedies. § 3582(c)(1)(A).

      Pursuant to § 3582(c)(2), a court may also modify a term of

imprisonment if, after sentencing, the applicable sentencing

guideline range has been lowered by the Sentencing Commission.

Even if all other § 3582(c) requirements are satisfied, however,

a court should modify or reduce a term of imprisonment only if

it determines that the defendant is no longer a danger to the

public. Id.


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       B. Application

     Here, Chavez is not entitled to a modification of his

sentence pursuant to § 3582(c)(1)(A) because he has demonstrated

no “extraordinary and compelling” reason warranting his release.

In fact, the only reasons proffered by defendant are his

purported rehabilitation and good conduct while in custody and

the unspecified challenges faced by his family due to his

incarceration and COVID-19.    He has not, however, shown how

those reasons are either extraordinary or compelling. See United

States v. Pereira, 272 F.3d 76, 82 (1st Cir. 2001) (“[I]t is the

unfortunate norm that innocent family members suffer

considerable hardship when a relative is incarcerated.”).

     Defendant is likewise not entitled to a reduction of his

sentence pursuant to § 3582(c)(2) because his below-guideline

sentence is not “disproportionately severe”, nor has there been

any relevant change to the applicable sentencing guideline range

since sentence was imposed in this case.       Under both the 2015

Guidelines Manual and the now-operative 2018 version,

defendant’s total offense level is 37, his criminal history

category is I and the advisory guideline sentencing range

remains 210-262 months.

     In any event, the totality of the circumstances, including

the severity of Chavez’s offense, the need for just punishment


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and respect for the law and the need to deter others from

trafficking in significant quantities of drugs, weighs heavily

against defendant’s release. See § 3553(a)(1)–(2).        Accordingly,

no reduction of defendant’s sentence is warranted and his

motions seeking one will be denied.

                                 ORDER

     For the foregoing reasons, defendant’s motions for

reconsideration and resentencing (Docket No. 563) and for

compassionate release (Docket No. 564) are DENIED without

prejudice.

So ordered.


                                 /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge


Dated April 20, 2021




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